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                                                                                 2020 Jun-12 PM 06:18
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        MIDDLE DIVISION

ROY S. MOORE,
                   Plaintiff,                    Civil Action
      v.
                                                 Case No. 4:19-cv-01855-CLM
GUY CECIL; PRIORITIES USA;
SENATE MAJORITY PAC (SMP);
BULLY PULPIT INTERACTIVE
LLC; and WATERFRONT
STRATEGIES,
                   Defendants.


    DEFENDANT BULLY PULPIT INTERACTIVE LLC’S RESPONSE
            TO THE COURT’S JUNE 8, 2020 ORDER

      Defendant Bully Pulpit Interactive LLC hereby responds to the Court’s June

8, 2020 Order, which instructed “Defendant Bully Pulpit Interactive, LLC to disclose

any and all of its members on the date the Complaint was filed that Plaintiff Moore

did not list in his response to the Court’s June 2, 2020 Order.” ECF No. 41 at 2; see

also ECF No. 40 (Plaintiff Moore’s response to the Court’s June 2, 2020 Order).

      On the date the Complaint in this case was filed, there were four members of

Bully Pulpit Interactive LLC that do not appear in the list compiled by Plaintiff

Moore: Svoboda Capital Partners Fund IV LP; Svoboda Capital Partners Fund IV

SBIC LP; Svoboda Capital Investors IV, LLC; and Lisa Shalett. None of these

members are—or were during any events material to this litigation, including on the

date of the filing of the Complaint in this case—citizens of Alabama.

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Filed: June 12, 2020                 Respectfully submitted,

                                     /s/ Marc E. Elias
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                          Attorneys for Defendants




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                          CERTIFICATE OF SERVICE

      I hereby certify that on June 12, 2020, I filed a copy of the foregoing

Defendant Bully Pulpit Interactive LLC’s Response to the Court’s June 8, 2020

Order with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to all counsel of record.



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                                         /s/ Marc E. Elias
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